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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                               Eastern Division

Peerless Industries, Inc.
                                   Plaintiff,
v.                                                      Case No.: 1:11−cv−01768
                                                        Honorable Joan H. Lefkow
Crimson AV, LLC, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 23, 2016:


       MINUTE entry before the Honorable Joan H. Lefkow:Jury trial held on 6/23/2016.
Jury deliberations begin. Court addressed question of deliberating jurors in open court.
Jury deliberations held and continued to 6/24/2016. (mad, )




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